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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X

MITSUI     SUMITOMO       INSURANCE
COMPANY       OF    AMERICA;      THE
CONTINENTAL INSURANCE COMPANY;                                  Case No. 22-cv-08233
AFFILIATED FM INSURANCE COMPANY;
ALLIANZ    GLOBAL     CORPORATE     &
SPECIALTY; ALLIANZ GLOBAL CORP. &
SPEC. NORTH AMERICA /ALLIANZ OF
AMERICA, INC.; ALLIANZ GLOBAL RISKS
US INSURANCE COMPANY; COAST
UNDERWRITERS; AMWINS SPECIALTY
LOGISITCS    UNDERWRITERS      (ASLU);
ASCOT UNDERWRITING LIMITED; AXA
GENERAL INSURANCE HONG KONG LTD;
ICICI EX BHARTI AXA, INDIA; CATHAY
CENTURY      INSURANCE;      CHAUCER
SYNDICATE; CNA HARDY, UK; CNA
INSURANCE COMPANY LIMITED; CHINA
PACIFIC     INSURANCE       COMPANY,
SHANGHAI;        FALVEY        CARGO
UNDERWRITING; FUBON INSURANCE CO
LIMITED;     HANOVER      INSURANCE
COMPANY; HDI GLOBAL INSURANCE
COMPANY; HDI GLOBAL SE AUSTRALIA
BRANCH; NOKIA; MARKEL AMERICAN
INSURANCE COMPANY; CATHEDRAL
UNDERWRITING LTD; MITSUI SUMITOMO
INSURANCE     CO.,  LTD    (THAILAND
BRANCH);       MITSUI      SUMITOMO
INSURANCE;      MITSUI     SUMITOMO
INSURANCE USA INC; MSIG INSURANCE
(THAILAND) PUBLIC CO LTD; MUNICH RE
UNDERWRITING LTD; THE NEW INDIA
ASSURANCE      COMPANY     LTD    (HK
BRANCH); MOTOOL INC; NTI LIMITED
(AUSTRALIA); PT MANDIRI AXA GENERAL
INSURANCE; QBE; RLI INSURANCE CO.;
SBI GENERAL INSURANCE; SENTINEL
MARINE UNDERWRITERS, LLC. (SMU);
SOMPO INSURANCE (THAILAND) PUBLIC
COMPANY         LIMITED;       SOMPO
INTERNATIONAL INSURANCE; SUNSHINE
PROPERTY AND CASUALTY INSURANCE

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 CO LTD; THE HANOVER INSURANCE
 COMPANY; U.S. SPECIALTY INSURANCE
 COMPANY; FLEXTRONICS; ROOMS TO GO;
 VIENNA INSURANCE GROUP; ZURICH
 INSURANCE; ZURICH NORTH AMERICA;
 ZURICH, HONG KONG; and ROANOKE -
 MUNICH RE SYNDICATE LTD.

                                   Plaintiffs,
              -against-

M/V ONE APUS, IMO no. 9806079, including its
engines, boilers, tackle, and other appurtenances,
etc., in rem; and CHIDORI SHIP HOLDING LLC;
JESSICA SHIP HOLDING S.A.; NYK SHIP
MANAGEMENT             PTE      LTD.;     OCEAN
NETWORK EXPRESS PTE LTD.; HAPAG-
LLOYD AKTIENGESELLCHAFT; YANG MING
MARINE TRANSPORT CORP.; HMM CO., LTD.,
AIR SEA WORLDWIDE LOGISTICS LTD.; AIR
TIGER EXPRESS ASIA INC; AIT WORLDWIDE
LOGISTICS; ALLIANCE CARGO GROUP (HK)
LTD; AMERICAN INTERNATIONAL CARGO
SERVICE INC.; APEX MARITIME CO. (LAX)
INC; APEX MARITIME CO. (ORD) LTD; APEX
SHIPPING CO INC; APL LOGISTICS LTD; ARK
SHIPPING INC; AZ FREIGHT INC; BDP
TRANSPORT INC; BENKEL INTERNATIONAL
PTE LTD; BLUE ANCHOR AMERICA LINE;
BLUE LOTUS OCEAN LINE; BLUE WORLD
LINE; CAPITAL EXPRESS INTERNATIONAL;;
CASTLEGATE LOGISTICS INC; CHINA
INTERNATIONAL FREIGHT CO LTD; CHINA
WHEEL SHIPPING (HOLDINGS) LTD.;
CHRISTAL LINES; CJ KOREA EXPRESS
SCHENXHEN           CO     LTD;     CONNECTED
INTERNATIONAL INC; CONSOLIDATOR
INTERNATIONAL CONTAINER SERVICE;;
DANMAR LINES; DE WELL CONTAINER
SHIPPING INC; DIMERCO EXPRESS (USA)
CORP; DSV OCEAN TRANSPORT A/S; EAST-
WEST LOGISTICS; EASY WAY LOGISTICS
(HK) LTD.; ECU LINE NV; EURASIA FREIGHT
SERVICE              INC;           EXPEDITORS
INTERNATIONAL;                        FLEXPORT
INTERNATIONAL LLC; GLOBAL OCEAN


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AGENCY LINES; GLOBE EXPRESS SERVICE;
GOLDEN BRIDGE INTERNATIONAL INC;
GREAT CHINA SHIPPING LTD; HECNY
SHIPPING LTD;      HT INTERNATIONAL
SUPPLY CHAIN (CHINA) LTD; INDO TRANS
LOGISTICS     CORPORATION;      INFINITY
CARGO      LOGISTICS    (CHINA)     LTD;
INTERGLOBO NORTH AMERICA INC;
INTERNATIONAL FREIGHT LINE (IFL);
JETSEA SHIPPING AGENCY LTD; KAMIGUMI
CO LTD; MAINFREIGHT INC; MEADOWS
WYE CONTAINER GROUPAGE; MITSUBISHI
LOGISTICS     AMERICA     CORPORATION;
MOHAWK GLOBAL LOGISTICS; MOL
WORLDWIDE        LOGISTICS;    MONDIAL
FREIGHT (HK) LTD; NEW CHAIN LOGISTICS
CO     LTD;    NISSIN   INTERNATIONAL
TRANSPORT USA INC; OCEAN CROWN
SHIPPING LTD.; ADRIENNE SHIPPING LTD.;
OIA GLOBAL LOGISTICS (CHINA) LTD;
ORIENT EXPRESS CONTAINER COMPANY
LTD;     ORIENT     STAR     TRANSPORT
INTERNATIONAL LTD; PACIFIC CONCORD
INTERNATIONAL LTD; PANCON EXPRESS
SERVICE; PELORUS OCEAN LINE LTD;
POWER       LINK      LOGISTICS      INC;
PROSHIPPPING GROUP CORP; PYRAMID
LINES; ROHLIG USA LLC; RS LOGISTICS LTD;
SAMSUNG SDS CO LTD; SANKYU INC;
SCHENKER OCEAN; SEAMASTER LOGISTICS;
SEKO WORLDWIDE; SHENZHEN ANDA
SHUN INTERNATIONAL LOGISTICS CO LTD.;
SHENZHEN AWS TOMAX INTERNATIONAL
TRANSPORTATION CO LTD; SHENZHEN
ENLAND LOGISTICS CO LTD; SHENZHEN
FENGDA LOGISTICS INTERNATIONAL LTD;
SHENZHEN          WANNING         OCEAN
INTERNATIONAL LOGISTICS CO., LTD;
SHINE EXPRESS INC; SINO CONNECTIONS
SOLUTIONS INC; SPEEDMARK LOGISTICS
CO LTD; STAR ASIA INTERNATIONAL INC;
THE SUMITOMO WAREHOUSE CO LTD;
THORNLEY & PITT INC; TIANSHI LOGISTICS
CO LTD; TOPOCEAN CONSOLIDATION
SERVICE (LOS ANGELES) INC; TOSHIBA
LOGISTICS; TPLOGIX INC; TRANSCON


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SHIPPING CO INC; TRANSLINK SHIPPING
LINES;     TRANSPAC           CARGOLINE;
TRANSPORT     PARTNER         LTD;   TVL
CONTAINER LINE LTD; UNIQUE LOGISTICS
INTERNATIONAL (HK) LTD; UPS ASIA
GROUP PTE LTD; WESTWIND SHIPPING &
LOGISTICS   PRIVATE        LTD.;   WORLD
LOGISTIC SERVICES LTD; and YES
LOGISTICS CORP., in personam.

                                            Defendants.

 This Document Relates To:

 IN RE: ONE APUS CONTAINER SHIP
 INCIDENT ON NOVEMBER 30, 2020
 22-MD-3028 (PAE)

------------------------------------------------------------X
                               COMPLAINT FOR CARGO DAMAGE

        The Continental Insurance Company and the other plaintiffs identified on Schedule A

(“Cargo Plaintiffs”) as and for their Complaint against Defendants identified on Schedule A

(“Carrier Defendants”) in personam, and as against M/V ONE APUS, IMO no. 9806079,

including its engines, boilers, tackle, and other appurtenances, etc., in rem; and CHIDORI SHIP

HOLDING LLC; JESSICA SHIP HOLDING S.A.; NYK SHIP MANAGEMENT PTE LTD.;

OCEAN NETWORK EXPRESS PTE LTD.; HAPAG-LLOYD AKTIENGESELLCHAFT;

YANG MING MARINE TRANSPORT CORP.; and HMM CO., LTD., in personam (“Vessel

Defendants”), allege, upon personal knowledge as to their own acts, and upon information and

belief as to all other matters, as follows:

                                     JURISDICTION AND VENUE

        1.       This Complaint is for loss of/damage to goods in common carriage by sea from

several foreign ports to a port of United States of America, and is thus subject to the Carriage of

Goods by Sea Act (“COGSA”), 46 U.S.C. §30701, et seq. (note), or in the alternative the Harter

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Act, 46 USC §30701, et seq. These claims come within this Court’s Federal Question

jurisdiction pursuant to 28 USC §1331.

       2.      This Complaint also alleges breach of maritime contract and thereby comes

within this Court’s admiralty jurisdiction pursuant to 28 USC §1333, and asserts admiralty or

maritime claims within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

       3.      This Court has personal jurisdiction over the Carrier Defendants and the Vessel

Defendants because they have offices in and/ or do business within the District. This Court has

in rem jurisdiction over M/V ONE APUS, IMO no. 9806079, including its engines, boilers,

tackle, and other appurtenances, etc., in rem, because it is presently within the district or will be

so while the action is pending.

       4.      Venue is proper in this District because the Carrier Defendants and the Vessel

Defendants are subject to personal jurisdiction in the District, because the subject contracts of

carriage, service-level agreements, and/or other applicable contracts contain choice of forum

clauses that call for or permit the jurisdiction of this Court, and because the Carrier Defendants

and Vessel Defendants have waived all objections to venue in this District.

                                          THE PARTIES

       5.      The Cargo Plaintiffs now and at all times material were corporations or other

business entities duly organized and existing by virtue of law. The Cargo Plaintiffs at all times

material were the uninsured owners or the subrogated insurers of the hereinafter-described

shipments of cargo.

       6.      The Cargo Plaintiffs are informed and on that basis believe that the Carrier

Defendants are now and at all times material were corporations or other business entities duly

organized and existing by virtue of law and were common carriers and/or transportation



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intermediaries engaged in the business of common carriage of goods for hire to, from and within

the United States, and to, from and within this district.

        7.      The Cargo Plaintiffs are informed and on that basis believe that M/V ONE APUS,

IMO no. 9806079, including its engines, boilers, tackle, and other appurtenances, etc., in rem, is

an ocean-going containership carrying goods for hire between foreign ports and ports of the

United States, and did engage in such common carriage of goods for hire in this instance, giving

the Kennedys Plaintiffs a maritime lien over it. The Cargo Plaintiffs likewise are informed and

on that basis believe that the other Vessel Defendants are now and at all times material were

corporations or other business entities duly organized and existing by virtue of law and were

common carriers and/or transportation intermediaries engaged in the business of common

carriage of goods for hire to, from and within the United States, and to, from and within this

district, and/or owning, chartering, operating and/or managing the M/V ONE APUS in the

common carriage of goods for hire by sea to, from and within the United States, and to, from and

within this district.

                                  FACTUAL BACKGROUND

        8.      On or about the dates and at the places of receipt and/or the ports of loading stated

in those bills of lading or waybills issued by Carrier Defendant and/or Vessel Defendants and

listed in Schedule A, the shipments therein described were delivered to Carrier Defendants and

Vessel Defendants as common carriers or otherwise. All of the shipments were tendered and

delivered to the Carrier Defendants and/or the Vessel Defendants in good order and condition at

foreign ports for transport to the Port of Long Beach, California, a port of the United States. The

Carrier Defendants and/or the Vessel Defendants then and there accepted said shipments, and in

consideration of agreed freight charges thereupon paid or agreed to be paid, the Carrier


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Defendants and/or the Vessel Defendants agreed to transport said shipments to the Ports of Los

Angeles / Long Beach, California, and/or onward to an inland destinations, and promised to

deliver said shipments in like good order and condition at the final points of delivery as specified

in said bills of lading/ waybills/ contracts of carriage and/or as required by operative law.

       9.      The Carrier Defendants and/or the Vessel Defendants and/or their agents issued

clean bills of lading/ waybills/ contracts of carriage for the shipments listed in Schedule A, some

particulars of which are stated therein, but which are more fully set out in the bills of lading/

waybills/ contracts of carriage themselves, which are equally available to the Carrier Defendants

and the Vessel Defendants, as the Carrier Defendants and the Vessel Defendants issued the bills

of lading/ waybills/ contracts of carriage. The shipments were thereafter loaded on board the

containership M/V ONE APUS in good order and condition at the load ports reflected on the

bills of lading/ waybills/ contracts of carriage.

       10.     On or about November 30, 2020, approximately 1800 containers broke free and

went overboard into the Pacific Ocean, and many hundreds more were damaged, all in breach of

the Carrier Defendants’ and the Vessel Defendants’ duties under the bills of lading/ waybills/

contracts of carriage and/or relevant law.

       11.     The vessel diverted to Kobe, Japan, arriving on or about December 8, 2020. It

underwent significant repairs for four months. During this time, the Carrier Defendants and the

Vessel Defendants removed many containers, including on information and belief the remaining

containers and shipments covered under the Carrier Defendants’ and the Vessel Defendants’ bills

of lading/ waybills/ contracts of carriage, and subjected them to further loss/ damage in

transloading and handling as a result of the overboard casualty. The Carrier Defendants and the




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Vessel Defendants refused to allow the Cargo Plaintiffs access to their shipments, and further

failed to provide any material information regarding the condition of same.

        12.     The vessel sailed from Kobe to the Ports of Los Angeles/ Long Beach, California,

on or about March 17, 2021, and said shipments that had not gone overboard were finally

discharged at the Ports of Los Angeles/ Long Beach, California, on or about April 12, 2021, in

bad order and condition, all in breach of the Carrier Defendants’ and/or the Vessel Defendants’

obligations under the bills of lading/ waybills/ contracts of carriage and/or relevant law.

        13.     The Cargo Plaintiffs are the real parties in interest, and are the owners of the

claims set forth herein. Prior to the Carrier Defendants’ and the Vessel Defendants’ receipt of

the shipments, issuance of bills of lading/ waybills/ contracts of carriage, or any loss thereto, the

Cargo Plaintiffs either owned said shipments, or issued policies of insurance whereby they

agreed to indemnify the owners of said shipments and their assigns against loss or damage to

said shipments. The Cargo Plaintiffs that issued policies of insurance became legally and

contractually obligated to pay their insureds for the cargo loss/ damage as a result of the

aforesaid events, in the amounts reflected in Schedule A, in total in excess of

USD$39,000,000.00, which claims the Cargo Plaintiffs adjusted and paid. By virtue of having

made said payment(s), the Cargo Plaintiffs that issued policies of insurance have become

contractually, legally and equitably subrogated to the rights and claims of their insureds, and/or

have been assigned the rights to recovery for the cargo losses described, including recovery of

any deductibles incurred or paid under the policies.

                                  FIRST CAUSE OF ACTION
                                  (Damage to Cargo - COGSA)

        14.     Plaintiff refers to and incorporates herein by reference paragraphs 1-13 as though

fully set forth herein.

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       15.     In November 2020 at various load ports in China as identified in the relevant bills

of lading/ waybills/ contracts of carriage, the Carrier Defendants and the Vessel Defendants

received various shipments of goods contained in numerous shipping containers and under

contracts of carriage, namely the bills of lading/ waybills/ contracts of carriage identified in

Schedule A, and others, and in return for good and valuable consideration, agreed to carry the

shipments from China to destinations in the United States via the Ports of Los Angeles/ Long

Beach, and thereafter deliver the shipments in the same good order, condition, and quantity as

when received.

       16.     However, in breach of and in violation of said agreements and their duties as

common carriers of goods by sea for hire, the Carrier Defendants and the Vessel Defendants did

not deliver the shipments in the same good order, condition, and quantity as received. To the

contrary, the Carrier Defendants and the Vessel Defendants either failed to deliver the shipments

at all, where the shipments were lost overboard during the ocean carriage to Long Beach, or

delivered the shipments in a damaged condition.

       17.     By reason of the Carrier Defendants’ and the Vessel Defendants’ failure to deliver

the shipments in the same good order and condition as received, each defendant has caused a loss

to the Cargo Plaintiffs in the amounts set forth in Schedule A, no part of which have been paid

by any defendant, though duly demanded.

                                 SECOND CAUSE OF ACTION
                                     (Breach of Contract)

       18.     Plaintiff refers to and incorporates herein by reference paragraphs 1-17 as though

fully set forth herein. This cause of action is pleaded in the alternative.

       19.     The Carrier Defendants and the Vessel Defendants, under contracts of carriage set

out in Schedule A, including without limitation bills of lading/ waybills/ contracts of carriage,


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and in return for good and valuable consideration, agreed to transport and carry the shipments

from ports in China to destinations in the United States via the Ports of Los Angeles/ Long

Beach, California and there to deliver the shipments in the same good order, condition, and

quantity as when received.

       20.     In breach of said contract, the Carrier Defendants and the Vessel Defendants did

not deliver the shipments in the same good order, condition, and quantity as when received. To

the contrary, the shipments were lost overboard and/or damaged during the ocean carriage.

       21.     By reason of the Carrier Defendants’ and the Vessel Defendants’ failure to deliver

the shipments in the same good order and condition as received, each defendant has caused a loss

to the Cargo Plaintiffs in the amounts set forth in Schedule A, no part of which have been paid

by any defendant, though duly demanded.

                                  THIRD CAUSE OF ACTION
                                         (Bailment)

       22.     Plaintiff refers to and incorporates herein by reference paragraphs 1-21 as though

fully set forth herein. This cause of action is plead in the alternative.

       23.     In receiving and arranging for the shipments of cargo, either by themselves or

through their agents, the Carrier Defendants and the Vessel Defendants acted as bailees for hire,

setting up a bailment as a matter of law. In breach of said bailment, the Carrier Defendants and

the Vessel Defendants failed to safely deliver the shipments in the same good order and

condition as when received. To the contrary, the shipments were never delivered or were

delivered damaged.

       24.     By reason of the Carrier Defendants’ and the Vessel Defendants’ failure to deliver

the shipments in the same good order and condition as received, each defendant has caused a loss




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to the Cargo Plaintiffs in amounts set forth in Schedule A, no part of which have been paid by

any defendant, though duly demanded.

                              FOURTH CAUSE OF ACTION
                      (Damage to Cargo – Harter Act, 46 U.S.C. § 30704)

       25.     Plaintiff refers to and incorporates herein by reference paragraphs 1-24 as though

fully set forth herein. This cause of action is pled in the alternative.

       26.     The Carrier Defendants and the Vessel Defendants, under contracts of carriage set

out in Schedule A, including without limitation bills of lading/ waybills/ contracts of carriage,

and in return for good and valuable consideration, agreed to transport and carry the shipments

from ports in China to destinations in the United States via the Ports of Los Angeles/ Long

Beach, California and there deliver the shipments in the same good order, condition, and quantity

as when received.

       27.     Thereafter, in breach of and in violation of said agreements and their duties as

common carriers of goods by sea for hire, the Carrier Defendants and the Vessel Defendants did

not deliver the shipments that they received in the same good order, condition, and quantity. To

the contrary, the Carrier Defendants and the Vessel Defendants either failed to deliver the

shipments, or delivered the shipments in a damaged condition.

       28.     By reason of the Carrier Defendants’ and the Vessel Defendants’ failure to deliver

the shipments in the same good order and condition as received, each defendant has caused a loss

to the Cargo Plaintiffs in amounts set forth in Schedule A, no part of which have been paid by

any defendant, though duly demanded.

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                             FIFTH CAUSE OF ACTION
                        GENERAL MARITIME LAW NEGLIGENCE

        29.     Plaintiff refers to and incorporates herein by reference paragraphs 1-28 as though

fully set forth herein. This cause of action is pled in the alternative, to the extent that any of the

Carrier Defendants or Vessel Defendants are not carriers or bailees as a matter of law.

        30.     The Carrier Defendants and the Vessel Defendants set out in Schedule A, and in

return for good and valuable consideration, agreed to transport and carry the shipments from

ports in China to destinations in the United States via the Ports of Los Angeles/ Long Beach,

California and there deliver the shipments in the same good order, condition, and quantity as

when received. Further to these agreements, the Carrier Defendants and the Vessel Defendants

agreed to own and/or charter and/or operate and/or manage said vessel in a safe, nonnegligent,

seaworthy and cargo-worthy manner.

        31.     Thereafter, in breach of and in violation of said agreements and their obligations

to own and/or operate and/or charter and/or manage the vessel in a safe, nonnegligent, seaworthy

and cargo-worthy manner, the Carrier Defendants and the Vessel Defendants negligently owned

and/or operated and/or chartered and/or managed said vessel, resulting in either a complete

failure to deliver some of the shipments, or in delivering other of the shipments in a damaged

condition.

        32.     By reason of the Carrier Defendants’ and the Vessel Defendants’ negligence, each

defendant has caused a loss to the Cargo Plaintiffs in amounts set forth in Schedule A, no part of

which have been paid by any defendant, though duly demanded.

        WHEREFORE, the Cargo Plaintiffs identified on Schedule A pray for relief as follows:

        A.      That this Complaint be deemed good and sufficient;




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        B.      That process in due form of law, according to the rules and practices of this

Honorable Court in causes of admiralty and maritime jurisdiction, issue against the M/V ONE

APUS, its cargo, apparel, tackle, and appurtenances, etc., in rem, by way of arrest pursuant to

Rule C of the Supplemental Rules For Certain Admiralty and Maritime Claims of the Federal

Rules of Civil Procedure, and that all persons claiming interest in said vessel be required to

appear and to answer under oath, all and singular the matters aforesaid;

        C.      That notice of the commencement of this suit in a manner approved by this

Honorable Court be given to the owner, custodian, master, or other ranking officer of M/V ONE

APUS, and to any person, firm, or corporation that has recorded a notice of claim of any

undischarged lien upon the Vessel;

        D.      That under Rule C(3) of the Supplemental Rules For Certain Admiralty and

Maritime Claims, this Court enter an order authorizing a warrant for the arrest of the Vessel, its

cargo, apparel, tackle, and appurtenances, etc., in rem;

        E.      That a warrant issue forthwith for the arrest of the Vessel, its cargo, apparel,

tackle, and appurtenances, etc., in rem;

        F.      That the Vessel be sold and the proceeds of the Vessel be applied to costs and

expenses associated with this action, and then applied to payment of the amounts owing, plus

interest, to the Cargo Plaintiffs;

        G.      That this Court decree payment by each defendant to the Cargo Plaintiffs in an

amount to be proven at trial, together with contractual attorneys’ fees, prejudgment interest

thereon and costs of suit herein; and

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       H.      That The Continental Insurance Company and the other Cargo Plaintiffs identified

on Schedule A have such other and further relief to which in law and justice they may be entitled

to receive.

                                             Respectfully submitted,
                                             KENNEDYS CMK LLP

Dated: September 26, 2022.
                                             /s/ Jonathan W. Thames
                                             Jonathan W. Thames
                                             Motion for admission Pro Hac Vice forthcoming
                                             101 California Street, Suite 1225
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                                            (212) 252-0004
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                                            Attorneys for Cargo Plaintiffs


PURSUANT TO RULE E(3)(b) OF THE SUPPLEMENTAL RULES FOR CERTAIN
ADMIRALTY AND MARITIME CLAIMS, PLEASE HOLD PROCESS IN REM IN
ABEYANCE.




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